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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                   GALVESTON DIVISION

DR. ROSANDRA DAYWALKER                                    §             CA. NO. 3:20-cv-00099
     PLAINTIFF                                            §
                                                          §
V.                                                        §
                                                          §
UNIVERSITY OF TEXAS MEDICAL                               §
BRANCH AT GALVESTON, ET AL.                               §
                                                          §
         DEFENDANTS.                                      §             JURY TRIAL REQUESTED

                          PLAINTIFF’S FIRST AMENDED COMPLAINT

TO THE HONORABLE JUDGE JEFFREY V. BROWN:

Preliminary Statement

1.       This is an employment lawsuit brought for violations of the Civil Rights Act of 1964, 42

U.S.C. ' 2000e, as amended (ATitle VII@), , the Family and Medical Leave Act of 1993 (AFMLA@) 1,

29 U.S.C. ' 2601 et seq., as amended, and the Rehabilitation Act of 1973, 29 U.S.C. ' 701, et seq.,

as amended (ASection 504").

2.       During all times mentioned in this Complaint, Plaintiff, Rosandra Daywalker, M.D., also

known as Dr. Rosandra Walker (“Dr. Daywalker”), was and is still a US citizen. Dr. Daywalker

is a Black female with a disability who engaged in protected activity. 2

3.       During all times mentioned in this Complaint, Defendant, University of Texas Medical

Branch at Galveston (“UTMB”), was and is still an employer, engaged in an industry affecting

commerce. It is also an educational institution that has received federal funding during all times

included in the factual statement in this Complaint. UTMB and Dr. Raimer may be served through


1
  Dr. Daywalker’s FMLA claim is only being brought against Dr. Ben Raimer in his official capacity, not against
UTMB.
2
  In this complaint, Dr. Daywalker’s use of the word “disability” references her rights under Section 504, not the
ADA or ADAAA.
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its counsel of record.

Jurisdiction

4.      Jurisdiction is invoked pursuant to 42 U.S.C. ' 1331 based on a federal question.

5.      Declaratory, injunctive, and equitable relief is sought pursuant to Title VII, the FMLA and

Section 504.

6.      All conditions precedent to filing this lawsuit have been met. Dr. Daywalker received a

Right to Sue Notice dated February 4, 2020 on her Title VII claims and has timely filed this lawsuit.

Dr. Daywalker had been employed by UTMB for several years and had worked at least 1,250

hours in the 12 months preceding her need for leave under the FMLA. All conditions precedent to

bringing this lawsuit have been met.

7.      Compensatory damages are sought pursuant to Title VII and Section 504.

8.      Costs and attorney=s fees may be awarded pursuant to Title VII, Section 504, and the

FMLA.

Venue

9.      This action properly lies in the Southern District of Texas, Galveston Division, pursuant to

28 U.S.C.§ 1391(b) because the unlawful employment practices and other misconduct were

committed in this judicial district.

Factual Statement

10.     Dr. Daywalker became a medical doctor in May 2015. In June 2015, she matched to UTMB

to complete a 5-year residency program in Otolaryngology (“the Program”). She was the only

Black resident in the Program for all years referenced in this complaint.

11.     When she began the Program, Dr. Susan McCammon (Caucasian) was the Program

Director. She had no problems under Dr. McCammon. In or about April 2017, Dr. Wasyl
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Szeremeta (Caucasian) became the new Program Director. Dr. Szeremeta had been with UTMB

for a year or so.

12.     During an Otolaryngology Retreat in June 2016, Dr. Szeremeta made certain comments or

generalizations about race that Dr. Daywalker felt were inappropriate in a group environment.

Specifically, Dr. Farrah Siddiqui (Asian/Middle Eastern), then Assistant Program Director,

commented that Otolaryngology was the least favorite specialty among Black medical students.

Dr. Szermeta replied, “if they (Blacks) are not interested, we cannot force them to apply.” To her,

his reply was unnecessary and showed his lack of interest in making Otolaryngology more diverse

and made others think she was there for reasons that had nothing to do with her achievements. For

example, Dr. Robert Darling (Caucasian), a Resident then and now Attending Physician, texted

her during the Retreat that since Black Otolaryngologists were so scarce, she should feel basically

bulletproof at UTMB.

13.     At times, Dr. Szeremeta made statements or comments that revealed a racial bias toward

or insensitivity against Black residents, patients, or people. He asked Dr. Daywalker on multiple

occasions her opinion when it came to topics related to Black culture or conduct. For instance, he

asked her why do Black people use the emergency room for their health care. He also made hostile

comments before or during surgery about Hispanics and illegal immigrants. He said Hispanics felt

entitled and did not want to learn English. In a Morbidity and Mortality Conference, Dr. Yang

was giving a presentation on a child who was a patient. As background, Dr. Daywalker has never

been present where the race of a patient or relative of a patient was mentioned in a M&M

presentation. During or after Dr. Yang’s presentation, Dr. Szeremeta interrupted and stated that

the mother of the child accused him of not giving enough pain medication because the child was

Black. Dr. Yang did not comment. Dr. Daywalker later informed the group that literature and
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studies showed there was a disparity in medication and treatment for Black patients. At times, Dr.

Szeremeta treated Dr. Daywalker like she was a representative to explain what he perceived as

Black issues.

14.    Dr. Szeremeta became Dr. Daywalker’s Program Director in or about April 2017. She

noticed that he started scrutinizing her performance. The prior Program Director, Dr. McCammon,

had always been helpful in providing constructive feedback on her overall progress. She was doing

well, and her performance evaluations reflected the same. In contrast, Dr. Szeremeta manufactured

reasons to reprimand her. On multiple occasions, he accused her of not closing her notes fast

enough. At that time, there was no set time period to close notes. However, her notes were

completed within a reasonable period of time (usually no later than 72 hours) after clinic or

surgery. When she asked another resident about the time period for completion of notes, he stated

that he would complete his notes within three days. When she applied for leave, Dr. Szeremeta

stated the leave was done improperly. He told her that leave should be placed in UTMB’s Kronos

time system. When she asked two other residents if they had requested leave through Kronos, they

both stated that they had not. Dr. Szeremeta did not reprimand them to her knowledge. He

appeared to try to cast her into an “angry Black woman” stereotype by falsely accusing her of

being angry and looking like she wanted to assault him. Dr. Daywalker has never had any temper

related issues at work and many have stated that she speaks softly and is mild mannered. Dr.

Szeremeta also unnecessarily delayed her facial plastic surgery rotation which caused her to miss

the majority of the rotation. She lost the opportunity to learn more about the subspecialty (i.e.,

facial plastic surgery), to network and to receive information that could advance her career.

15.    Under Dr. McCammon, Dr. Daywalker was rated “meets expectations” in every area.

However, under Dr. Szeremeta in August 2017, she was rated “requires attention” in multiple areas
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including medical knowledge, professionalism, and interpersonal and communication skills.

Many of the alleged accusations by Dr. Szeremeta were inconsistent with the comments he made.

By the end of 2017, she still was not rated “meets expectations” in all areas.

16.        In May 2018, Dr. Daywalker was placed on remediation. Remediation is similar to a

performance improvement plan. Even though there was no objective basis for the remediation,

she still adhered to the remediation terms as requested. However, she did not receive resources or

assistance for improvement or a concrete length of time for remediation. After receiving the

remediation plan, in early June 2018, she reported harassment (i.e., hostile work environment) and

discrimination based on race and gender to UTMB for an internal investigation. During the alleged

investigation, Dr. Siddiqui completed her performance evaluation and rated her as “requires

attention” in every area.

17.        On or about June 8 and 11, 2018, she met with UTMB’s EO Investigator and gave detailed

facts that led her to believe her race and gender played a role in harassment and discrimination. It

took UTMB more than two months to conclude its alleged investigation. During this time-period,

the harassment grew worse and Dr. Daywalker could see blatant retaliation and harassment by

other physicians, like Dr. Siddiqui, Dr. Vincent Resto, Dr. Harold Pine, and Dr. Christopher

Thomas. The conduct of these doctors appeared connected to her reporting Dr. Szeremeta for

discrimination and harassment based on race and gender. 3 The behavior of these doctors led to

the demotion from her fourth year of residency to the third year of residency and ultimately to her

constructive discharge. Dr. Daywalker reported several incidents of retaliation and harassment on




3
    Dr. Daywalker believes she was subjected to a hostile work environment for engaging in protected activity.
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multiple occasions. Still, nothing was done to correct it. 4 The harassment, discrimination and

retaliation continued.

18.     Dr. Daywalker’s health began to decline in 2017 and worsened in or about July 2018 after

she received the remediation reprimand and the worst performance evaluation since she had been

in the program. She was seeing a therapist due to the hostile work environment and ongoing

discrimination and retaliation. 5 Due to her health, she requested personal leave. She did not know

at the time that this may have been an FMLA qualifying illness. Even after knowing her reason

for leave, UTMB did not inform her of her FMLA rights. Instead, it used her request for leave as

punishment. It drafted the terms of her leave in a letter in August 2018. If she wanted UTMB to

approve leave, she would have to agree to repeat her third year of residency. As background, Dr.

Lara Reichert, Caucasian, left on maternity leave and was not required to repeat an entire year. By

that time, Dr. Reichert was a fourth-year resident. UTMB also demanded that Dr. Daywalker

complete assignments related to work while on leave. UTMB also denied her a complete facial

plastic rotation. This would have been her subspecialty when she completed residency. Without a

complete rotation, she missed opportunities to obtain a fellowship in facial plastic surgery. She

believes this will adversely affect her career opportunities, salary and benefits in the long-run.

19.     Dr. Harold Pine (Caucasian) brought the leave of absence letter to a local restaurant. The

letter was drafted by Dr. Vicente Resto (Hispanic). Dr. Daywalker’s husband was present at the

meeting with Dr. Pine. During the meeting, Dr. Pine told her that if she did not sign the leave

letter, she could be terminated. He also stated that management did not believe that she would




4
  For the sake of brevity, Dr. Daywalker incorporates as fully set forth herein Plaintiff’s Exhibit A that includes
various documents relating to UTMB’s findings that no harassment, retaliation, or discrimination was found during
multiple alleged investigations.
5
  For the sake of brevity, Dr. Daywalker incorporates as fully set forth herein Plaintiff’s Exhibit A that includes
additional acts of harassment, retaliation, and discrimination.
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perform well enough to return as a 4th year resident. When she asked for the reason, he said it was

just how management felt, and there was a sizeable group that did not think she would finish the

program. He admitted that there could be individuals who did not want her to finish. He

encouraged her to sign the leave letter to avoid any additional harassment and discrimination. She

specifically remembered him saying, “it is what it is.” He also stated it was not a good situation

for her, but the letter permits her to complete the residency. This only made her situation worse,

as she was under extreme duress to sign the agreement or risk losing her job. She was in no

condition to work, but she reported to work the next day in fear of losing her job.

20.    Dr. Daywalker also spoke with Dr. Christopher Thomas a few days after her meeting with

Dr. Pine in August 2018. She mentioned Dr. Pine’s comments. He said that she had not been

promoted to a PGY4 (resident year 4) because Dr. Szeremeta did not sign the required documents.

However, she called the American Board of Otolaryngology in October 2018 and was told that

UTMB reported her as a PGY4. Dr. Thomas explained the tense situation and said that he “was

trying to put a silver lining to a dark cloud” for her. He discussed a facial plastic fellowship and

told her that it would be better for her to repeat the third year. When she asked if this was the

fairest way to handle the leave, he did not answer, say yes, or say no; instead, he said it was a way

she could “get a break from being in the midst of all of this.” He said this would permit faculty to

get a chance to “reflect and for everything to cool off.” She told him that she felt the leave letter

was punitive. He did not deny this comment. When she stated that she wanted FMLA, he pushed

back and started discouraging FMLA leave. He started stating all the hurdles that she must jump

through to get FMLA leave. She believes this was an attempt to make her leave legally unprotected,

to terminate her, or to cause future adverse actions against her. Clearly, this showed he was fully

aware of the harassment, retaliation, and discrimination.
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21.    After speaking with her attorney, the undersigned attorney intervened on her behalf and

drafted a letter requesting FMLA, among other things. Shortly after, she completed the FMLA

paperwork, and ultimately FMLA was approved. Dr. Daywalker planned to return to work on

November 6, 2018 which was the end of her FMLA leave. She was also going to request

reasonable accommodations.       UTMB was placed on notice of her need for a reasonable

accommodation only days before Dr. Daywalker was demoted without cause and constructively

discharged.

22.    Dr. Daywalker returned to work on November 6, 2018. She had an early morning meeting

with Szeremeta and two others who informed her that she was being demoted from a PGY- 4 to a

PGY-3. Dr. Szeremeta claimed the demotion was warranted because Dr. Daywalker may

allegedly put patients at risk. She adamantly denies the claim and any facts used to support it. She

has never been given any type of verbal or written warning that she had put patients at risk.

23.    Dr. Daywalker requested that UTMB’s HR or legal department investigate the demotion

pursuant to page 26 of UTMB’s Handbook. Under the FMLA, Dr. Daywalker should have been

reinstated to the same position of PGY-4.

24.    Such retaliation was apparent under Title VII, Section 504 and FMLA. Defendants

effectively constructively discharged her from the program. As such, they have caused damage to

her professional reputation and career opportunities in plastic surgery, her intended specialty upon

completion from the residency program.

25.    Dr. Daywalker believes that she has been harassed, discriminated against, and retaliated

against by UTMB due to her race, gender, disability, and engaging in protected activity. She has

been constructively discharged from her position.
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26.    The retaliation continued even after constructively discharging her. Dr. Szeremeta and

others reported information to third parties that was not true or was misleading to interfere with

Dr. Daywalker’s duty to mitigate damages.

Causes of Action

27.    Dr. Daywalker incorporates, as if re-alleged, paragraphs 1-26.

                                        DEFENDANT UTMB

28.    During all times relevant to this lawsuit, UTMB received federal funding.

29.    For reasons set out above, UTMB also discriminated against Dr. Daywalker in

violation of the Rehabilitation Act of 1973, 29 U.S.C. 794, solely because of her disability or

engaging in protected activity related to her disability.

30.    Dr. Daywalker is entitled to an order making her whole, including an award of back pay,

lost benefits and seniority, and compensatory damages.

31.    Dr. Daywalker is also entitled to be awarded reasonable attorney’s fees, including

litigation expenses and costs; and costs for all appeals to other courts.

32.    Because Dr. Daywalker was harassed, discriminated against, and retaliated against due to

her race, disability/handicap, and/or her engagement in protected activity, UTMB has

intentionally, maliciously, and willfully violated Title VII and Section 504.

33.    But for her engaging in protected activity under Title VII, UTMB would not have retaliated

against her by demoting her and making her work environment so bad a reasonable person in her

position would feel forced to resign.

34.    Dr. Daywalker reported the harassment on multiple occasions. UTMB allegedly conducted

an investigation. Each time, it sided with management and found no harassment. Thus, the
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harassment continued. Because nothing was done to correct or removed the harassment after being

placed on notice of it, UTMB’s violated Title VII.

                                  DEFENDANT DR. RAIMER

35.     Dr. Raimer in his official capacity violated the FMLA, as amended, and discriminated

against Dr. Daywalker because she took leave under the FMLA.

36.     The unlawful employment practices complained of above were willful or intentional.

37.     As a result of the violation of the FMLA, set forth above, Dr. Daywalker is entitled to

prospective injunctive relief against Dr. Raimer in his official capacity, including an order of

reinstatement to the position of PGY-4. In lieu of reinstatement, Dr. Daywalker is entitled to an

award of front pay until retirement.

38.     Dr. Daywalker is also entitled to recover back pay, liquidated damages, reasonable

attorney’s fees, costs, and litigation expenses from Dr. Raimer in his official capacity.

Prayer for Relief

39.     Wherefore, Dr. Daywalker prays that this Court:

            a. declare the conduct engaged in by Defendants a violation of Dr. Daywalker’s rights;

            b. enter judgment against Defendants;

            c. enjoin Defendants from engaging in such conduct;

            d. reinstate Dr. Daywalker to the position of PGY-4;

            e. award Dr. Daywalker equitable relief of back salary and fringe benefits up to the

               date of termination and prejudgment interest for that entire period, or front salary

               and benefits accrual in lieu of reinstatement;

            f. award Dr. Daywalker liquidated and compensatory damages;

            g. award Dr. Daywalker costs and reasonable attorney’s fees; and
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           h. grant such other relief as it may deem just and proper.

       Dr. Daywalker demands a jury trial.


                                             Respectfully submitted,

                                                 /s/ Victoria Plante-Northington
                                             VICTORIA PLANTE-NORTHINGTON
                                             Texas Bar No. 00798436
                                             Southern District No. 21235
                                             PLANTE LAW FIRM, P.C.
                                             5177 Richmond Avenue
                                             Suite 1140
                                             Houston, Texas 77056
                                             Telephone: (713) 526-2615
                                             Facsimile: (713) 513-5176
                                             Email: victoria@plantelawfirm.com

                                             ATTORNEY FOR PLAINTIFF
                                             ROSANDRA DAYWALKER, MD

                                CERTIFICATE OF SERVICE

       I hereby certify that on this 2nd day of July 2020, the foregoing instrument was served via
the ECF system of the U.S. District Court for the Southern District of Texas on the following
counsel of record:


                                          Todd Dickerson
                                Email: Todd.Dickerson@oag.texas.gov


                                                    /s/ Victoria Plante-Northington
                                                    Victoria Plante-Northington
